 

IN THE UNITED STATES COURT U.S. DISTRICT COURT
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EASTERN DISTRICT OF WISCONSIN 49 HPS RG ,

JOHN L. McLEMORE, possessory tenant _) Federal Questa NOVI3 P i 2y
431 S. 94th St. Milwaukee Wisconsin 53214 ) Civil # STEPHEN &. DRIES
7 CLERK
) INJUNCTIVE RELIEF
U.S. Bank N.A. defendant record owner ; .
) “Protecting Tenants in Foreclosure
80 S. 8th St. #224 Minneapolis, Minn. 55402 , Act”

Xx

COMPLAINT FOR INJUNCTIVE RELIEF
And Now Comes JOHN L. McLEMORE, a rent paying tenant at $500/month and
other duties relating to the premises at 431 S. 94th St. Milwaukee Wisconsin 53214, a
single family house, entering this petition for injunctive relief under the renewed

“Protecting Tenants in Foreclosure Act’, to wit:

I The undersigned “John L. Mclemore” is a tenant of the residential
premises at 431 S. 94th St. Milwaukee Wisconsin 53214, see my lease attached by
exhibit “A”. It is my sole residence and I have been living there since 2017.

2. Additionally, the undersigned is legally blind and protected under federal
disability law. The problem is in the next exhibit “B”, a Writ of Assistance
obtained in the name of defendant U.S. Bank N.A., although it is impossible that
they actually motivated or participated in the legal process.

3. U.S. Bank N.A. of Minneapolis Minnesota has a Milwaukee Wisconsin
branch where they have been served with this petition, at 777 E. Wisconsin Ave.
Milwaukee Wisconsin 53202. Their “role” in this context is identified by their
own well known publication, “The Role of the Corporate Trustee by US Bank",

which is attached at exhibit “C” following the petition.

1

Case 2:19-cv-01674-JPS Filed 11/13/19 Page 1of10 Document 1
 

 

 

“U.S. Bank” as federally regulated mortgagee under the Federal Reserve
System is bound by the premises of the renewed and now permanent,
“Protecting Tenants in Foreclosure Act”. See exhibit “D” attached, a print out
describing the law. All tenants are “bona fide’, there is no such thing as a ‘mala
fide tenant’, and the law is partly unconstitutional as written. See 2 CJ.S.
Adverse Possession § 105, page 659:

"The owner's continued possession after sale of the property at execution, judicial,
or like sale is that of a tenant at sufferance of the purchaser, and is not hostile
to the purchaser without a clear repudiation of his title and assertion of hostile
claim, and in the absence of all testimony manifesting the actual character of his
holding, his possession is regarded as consistent with the title of the purchaser.”

The term “tenant” just means ‘anyone holding land in subordination to
the title of another’, and Congress cannot impose subjective and arbitrary
distinctions, all of which are essentially a form of racial discrimination. Nobody
will inquire into my “status”, or attain the race of “mortgagors and their family”.
Congress does not recognize, organize or impose “familiar associations”.

All people are equal, and the only means to make the law protecting
tenants “fully effective” is to protect everyone, meaning that the federal
mortgagee or its successor must proceed by eviction or ejectment, at least
granting thereby essential ‘due process’, and at least the barest opportunity to
raise the federal ‘anti eviction defense’. Here, I have no opportunity at all and it
may not be ‘preemptively decided” by some kind of proactive effort on my part.

I am a prime example of why the federal act must be construed to cover
ALL TENANTS AND OCCUPANTS OF ANY DESCRIPTION, because like so
many other people around the country, the federal Protecting Tenants in
Foreclosure Act is being run over by names like “U.S. Bank”, that are being made

to refuse its duties and the related provisions of law by the servicer’s attorney.

2

Case 2:19-cv-01674-JPS Filed 11/13/19 Page 2of10 Document 1
 

10.

 

A “mortgagor” is a title interest in rem, not a possessor of land in personam.
It does not have a “family”, and Congress may not ‘attain’ the blood of any
“families”. Congress may not define who is related to whom, or speak of
“families” in this context, where “mortgagor” just means “property interest”.

I am actually a legitimate bona fide rent paying tenant living at 431 S. 94th
St. Milwaukee Wisconsin 53214, paying “$500/month” and fulfilling other duties,
yet there is no means to raise this “anti eviction defense”. I was not sued for
possession of the house, but the local circuit court just issued a writ of
Assistance on top of confirming the related sheriff sale, which itself is patently
unconstitutional. See the Memorandum to follow.

In order to give “full effect” to the federal law, it must declared that all
tenants and other occupants are equally protected, and that the foreclosing
mortgagee or it’s successors are required to proceed in a judicial due process
where the “anti eviction defense” may be raised. U.S. Bank must proceed by
ejectment or eviction in the State of Wisconsin, but it may not “tag” a writ of
assistance on top of confirming the foreclosure sale.

Wherefore, the undersigned has notarized his signature in order to
demonstrate his identity, and asks this Court to declare the federal “Protecting
Tenants in Foreclosure Act” to constitutionally extend over the entire protected
subject class, which must be “All Tenants of any Description” and “All Unknown
Occupants” and even “Mortgagors and their Family”. Congress may not make
these distinctions, which are essentially unenforceable, and only lead to creating

a discriminatory racial class, approaching “attainder of the blood”.

John L. McLemore, a protected tenant under federal law
431 S. 94th St Milwaukee, Wisconsin 53214

3

Case 2:19-cv-01674-JPS Filed 11/13/19 Page 3of10 Document 1
 

 

VERIFICATION

The foregoing is true correct and complete within my first hand knowledge

information and belief. My name is JOHN L. MCLEMORE and my notarized witness to

these facts is affixed below. All statements made herein are subject to the penalty of

perjury under applicable United States law, and this petition was made in good faith as

required under federal Rule 9. I am legally blind and may require assistance to appear

in court, yet lam ready to appear on proper notice and summons.

 

ad,

John L. McLemore, a protected tenant under federal law

(NOTARY)

431 S. 94th St Milwaukee, Wisconsin 53214

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JESSICA R. SANCHEZ

NOTARY PUBLIC
STATE OF WISCONSIN

 

 

 

 

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Case 2:19-cv-01674-JPS Filed 11/13/19 Page 4of10 Document 1
 

IN THE UNITED STATES COURT
EASTERN DISTRICT OF WISCONSIN

JOHN L. McLEMORE, possessory tenant _) Federal Question
1234 S. 108th St. West Allis Wisconsin 53214  ) Civil #
vs. ) INJUNCTIVE RELIEF (in re)
)
)
)

Protecting Tenants in Foreclosure
U.S. Bank N.A. defendant record owner

80 S. 8th St. #224 Minneapolis, Minn. 55402
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POSSESSING TENANT'S MEMORANDUM IN SUPPORT

“In a supplementary proceeding, no issue can be tried between a receiver or
judgment creditor and a 3rd-person as to rights in property.” DOR v. Milwaukee Mack
Sales, 91 Wis. 2d 1, 280 N.W. 2d 274 (1979).

The undersigned “John L. McLemore” is a protected tenant under federal law
and my constitutional rights are being violated in the Milwaukee County Circuit Court.
I am 3" party to the foreclosure case in the court below, but a Writ of Assistance has
issued against my tenancy as set forth in the complaint here. The plaintiff never
petitioned for a writ of assistance after confirming the sale, and it could not stand to do

so without first perfecting its title. See following, with emphasis:

815.63 Sheriff's deed; writ of assistance. Whenever title has been perfected to any real
estate sold on execution, or to any part or interest in the real estate, and the defendant in
execution, or any other person claiming under the defendant by title accruing
subsequently to the entry of the judgment in the judgment and lien docket upon which
the judgment was issued, shall be in possession of that real estate or part or interest in
that real estate, and, upon demand of the person in whom the title has been perfected,
refuses to surrender the possession, the person may apply to the court from which the

execution issued, by verified petition, for a writ of assistance to obtain possession.

5.

Case 2:19-cv-01674-JPS Filed 11/13/19 Page5of10 Document 1
 

 

(cont...) A copy of this petition, with a notice of the time and place when and where
the petition will be presented, shall be served upon the person against whom the
writ is issued at least 10 days before the petition is presented. The petition may
be served as a summons in an action in the circuit court. The court may direct the
writ to issue, and the writ shall be executed and return made in the same manner
as upon a sale upon a judgment for foreclosure of a mortgage. History: Sup. Ct.

Order, 67 Wis. 2d 585, 761 (1975); Stats. 1975 s. 815.63; 1977 c. 449; 1995 a. 224.

Cross-references: The general provision for writs of assistance is s, 815.11.

The petition to confirm the sheriff sale was falsely labeled “and for writ of
assistance", but it did not set forth any reason why the writ should issue, the grounds or
basis for such a writ, nor was it served within the required ten days notice to respond
at some time after confirming the sale (which perfects the plaintiff's title). The legal
premise of “assistance after sale” could only apply with an execution judgment, not a
“foreclosure sale”. Moreover, the plaintiff cannot have petitioned for any writ of
assistance, because under the statute, title must first be perfected (confirmed and
recorded), and only then may a demand for possession be had, with at least 90 days

notice at common law, as in the nature of an agricultural tenancy. See 2 C.J.S. Adverse

Possession § 105, page 659:

"The owner's continued possession after sale of the property at execution, judicial, or like
sale is that of a tenant at sufferance of the purchaser, and is not hostile to the purchaser
without a clear repudiation of his title and assertion of hostile claim, and in the absence of all
testimony manifesting the actual character of his holding, his_possession is regarded _as
consistent with the title of the purchaser." 2 C.J.S. Adverse Possession § 105, page 659

Now see Wisconsin Statutes, Chapter

710.10 Removal of possessor of property. In the following cases any person
who holds possession of property, or the representatives or assigns of such person may
be removed under Ch. 799 or 843.

(1) A person holding in violation of s. 704.17 (4), or of s. 704.19 (8).

6

Case 2:19-cv-01674-JPS Filed 11/13/19 Page 6of10 Document 1
 

(2) A tenant at sufferance holding without permission.

(3) A possessor of property which has been sold upon foreclosure of a mortgage

if the possessor's rights were extinguished by the foreclosure.

(4) A person who occupies or holds property under an agreement with the
owner to occupy and cultivate it upon shares and the time fixed in the agreement for
such occupancy has expired.

The Court must take judicial notice that the immediate possession of any land is
never granted in the standard federally supplied residential mortgage, it is not the
subject of any residential mortgage, it is functionally inalienable and cannot be made
the subject of an execution judgment (hence the procedure under Wisconsin 815.63
Sheriff's deed; Writ of assistance) and that the occupancy of residential premises is
always held to “All Unknown Occupants”, who may be holding by perfected adverse
possession, a better title on another line, a superior lien ordination, etc. Even a tenancy
at will or a month to month estate cannot be made subject to liens and judgments,
except in possessory actions (chap. 710.10 supra) for real property against the otherwise

inalienable right to be in some place, simply by holding immediate physical possession.

The plaintiff may seek ‘eviction’ in the small claims court, or it may seek
‘ejectment’ in the circuit court; but it cannot “suddenly” have a writ of assistance on
their deed. Otherwise there is no purpose to the statute-chapter above recited, and this
cannot be. “Shall have a Writ of Assistance” is merely standard declaratory language, and
it does not make a time certain, nor imply an immediate right; otherwise it would be
unnecessary to ask the Court for a writ, and only necessary to apply at the Clerk’s
Office. Even at an “execution sale”, it is only after perfecting and making a qualified,
written demand for possession that an original petition applying for a writ of assistance
on equitable grounds may be had, with at least 10 days statutory notice. Emphasis:

815.63 Sheriff's deed; writ of assistance (supra),

7

Case 2:19-cv-01674-JPS Filed 11/13/19 Page 7 of 10 Document 1
There is no legal basis to issue a writ of assistance delivering possession to a
sheriff sale purchaser in mortgage foreclosure (cf. ‘710.10’ above), because there is no
judgment for immediate physical possession in the record (nor at a date certain), and
this is an "in rem" foreclosure case against a specific title interest, not an "in personam"
real property recovery action against “All Unknown Occupants”. At no time was there
a possessory covenant in the mortgage relationship, which historically was the basis to
treat the sale process as a summary eviction; but even that is a separate and original
process. There is otherwise no good reason why the purchaser should have immediate
possession, especially since it cannot take possession at all, and never once had

possession, nor its privity.

"US Bank" is only a distant 5th party mortgage backed securitization trustee, if it
is involved at all besides the unauthorized use of its license. It is contractually barred
from taking possession, or having anything to do with the physical property itself (see
attached exhibit “Role of the Corporate Trustee” by nominal plaintiff U.S. Bank itself), and no
intermediate financial interest will ever be able to somehow enter and "hold" a piece of
residential real estate. They are not an investor, not a real purchaser, not a leasing and
development company, or anything other than an esoteric abstraction. "They" (5th party
Nationstar Mortgage Servicing LLC) will do nothing more than any other mortgagee who
secures an abandoned place: change locks, possibly the barest maintenance, and list it as
an "REO" sale property. The purchaser is perfectly free to list the place for sale and we

already keep and maintain these premises far better than anyone else ever could.

The sheriff sale purchaser is not entitled to a writ of assistance as a matter of law, it
must be petitioned for by docketing an actually verified petition, and the application
must reach the sound discretion of the court. It is unconscionable to put nobody into
possession of an occupied home with the winter approaching, while the place also

houses an entire estate worth of protected tenancy under federal law, something the
8

Case 2:19-cv-01674-JPS Filed 11/13/19 Page 8of10 Document 1

 
trial court cannot determine by some kind of strange preemptive inquiry. There will be
no "status hearings", while anyone that occupies land in subordination to the title of another is
called a tenant, by every definition and longstanding custom. The trial Court cannot
‘suddenly’ determine paramount title as an afterthought to "foreclosure", it cannot
preempt possible defenses to eviction cases nobody brought, and the jurisdiction here is
strictly "in rem". There is no such thing as a writ of assistance or a judgment for
possession that applies to some occupants but not others, because the sheriff can make

no distinctions among living people, it is “all occupants or none”.
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The sheriff deputies will remove all occupants or none, and without immediate
relief, they will remove me despite the federal protections. The decree of the Milwaukee
County Circuit Court is unconstitutional to the extent that it conflicts with federal law;
but it is contended that the decree is merely declaratory language, on which no writ
may issue at all. The sale purchaser may not take a writ of assistance here without
violating everyone's rights, while doing nothing to vindicate theirs, such as it may be.
The premise here is absolutely unconstitutional, and the ‘writ of assistance’
contemplated by statute is subject to the sound discretion of the court after application
by good service and a properly formatted petition, not an 'affidavit' by some lawyer

who verifies his mental map.

The context for issuing writs of assistance upon just and proper application is
usually directed at empty land, large scale commercial property, etc. That the writ may
assist the purchaser to get possession is one thing, so long as it violates no other
principle, claim or right. Here, the holdover tenancy after the end of an estate in a
dwelling house for many years must itself run from year to year, and only on 90 days
good notice to quit, properly formatted and delivered. And then we are entitled to the
process of law, in the action for ejectment on a ‘trial of titles’, because as it says above

first mentioned, “[iJn a supplementary proceeding, no issue can be tried between a receiver or

9

Case 2:19-cv-01674-JPS Filed 11/13/19 Page 9of10 Document 1

 
judgment creditor and a 3rd-person as to rights in property.” DOR v. Milwaukee Mack
Sales, 91 Wis. 2d 1, 280 N.W.2d 274 (1979). The premises suggested by the “affidavit” of
the interloping law firm and the issuance of this “writ of assistance” are illegal and

wholly unconstitutional.

We are entitled to at minimum a 10 day notice of any “supplementary hearing”,
yet it will not bind any character in personam, given the nature of this strictly in rem
action, which runs “de terris’. “Daniel J. Bohringer, de terris” is not the same legal
person as “Daniel J. Bohringer, possessory tenant”; neither will anyone else be made to
suffer on his account, nor will he be made to embody or personify the generic
occupancy of a residential dwelling in Milwaukee, Wisconsin. The State court had no
constitutional jurisdiction to ‘suddenly’ issue a writ of assistance on the “letter request”
supported by a bogus ‘affidavit’ that makes no verification of anything but an

incoherent jumble of misbegotten legal conclusions and other wrongful pettifoggering.

The word for this is “barratry”, the bringing of frivolous, idle and vexatious suits
to court, usually under an illegal procedure. The ‘writ of assistance’ must be prohibited,
and proper sanctions imposed on the attorney who authored this premise, who acted
only in knowing bad faith. | am a protected tenant under federal law, and my rights are

being violated in the Milwaukee County Circuit Court.

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//s// John L. McLemore in the proper person

10

Case 2:19-cv-01674-JPS Filed 11/13/19 Page 10of10 Document 1
